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                           UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,              )                NO. 1: 04 CR 05284 OWW
                                       )
             Plaintiff,                )                ORDER OF DETENTION FOLLOWING
                                       )                REVOCATION OF PREVIOUSLY SET
          V.                           )                CONDITIONS OF RELEASE
                                       )
OSCAR REYES CARDONA                    )
                                       )
             Defendant                 )
______________________________________ )

      A. Order for Revocation And Detention
             After conducting a hearing pursuant to 18 U.S.C. § 3148(h) on the government’s motion
      for revocation of the previous order for release, the Court orders the previous conditions of
      pretrial release revoked and this defendant detained.
      B. Statement of Reasons For The Revocation And Detention
             The Court orders the revocation of pretrial release conditions and the defendant’s
      detention because it finds:
             _____ (1) There is probable cause to believe this defendant has committed a Federal,
                     State or local crime while on release, to wit : ___________________________
                     or
             __X__ (2)     There is clear and convincing evidence that this defendant has violated a
                     condition or conditions of release, to wit: violated residency restrictions and
                     curfew and failed to report for drug testing
                     and
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            __X__ (3) That based on the factors set forth in Section 3142(g), there is no condition or
                   combination of conditions of release that will assure that this defendant will not
                   flee or pose a danger to the safety of any other person or the community; in that
                   the surety and third party custodian is no longer willing to act in those capacities


            __X__ (4) That this defendant is unlikely to abide by any condition or combination of
                   conditions of release.


         IT IS SO ORDERED.

         Dated:   July 19, 2006                            /s/ Dennis L. Beck
3b142a                                            UNITED STATES MAGISTRATE JUDGE
